Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 1 of 9




                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.


 JOSE ROQUE, individually,

       Plaintiff,

 v.

 LEADING EDGE RECOVERY SOLUTIONS, LLC,
 a foreign limited liability company,

      Defendant.
 _________________________________________/

         COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF
                        JURY DEMAND

       1.     Plaintiff JOSE ROQUE alleges violations of the Telephone Consumer

 Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”) and the Fair Debt Collection

 Practices Act, 15 U.S.C. § 1692 et seq. Plaintiff alleges that Defendant LEADING

 EDGE RECOVERY SOLUTIONS, LLC incessantly and unlawfully called

 Plaintiff’s cellular telephone in an attempt to collect an alleged consumer debt.

 Despite the fact that Plaintiff neither provided Defendant with his cellular

 telephone number, nor gave anyone else the authority to call said cellular telephone

 number, Defendant proceeded to unlawfully make calls to Plaintiff using an

 automatic telephone dialing system (i.e. “auto-dialer”) and/or make calls which

 contained an artificial voice or pre-recorded message.
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 2 of 9




                           JURISDICTION AND VENUE

       2.     This Court has jurisdiction of Plaintiff’s claim for TCPA violations

 under 28 U.S.C. § 1332(a) and 15 U.S.C. There is diversity of citizenship between

 the parties and more than $75,000 dollars in controversy, exclusive of interest and

 costs. Venue in this District is proper because the Plaintiff resides here and

 received telephone calls from Defendant within this District, and Defendant

 conducts business in this District by regularly placing telephone calls into this

 district. This Court also has jurisdiction for Plaintiff’s claim for violations of the

 FDCPA under 28 U.S.C. §§ 1331, 1337, and 15 U.S.C. § 1692k.

                                       PARTIES

       3.     Plaintiff JOSE ROQUE is a natural person, and a citizen of the State

 of Florida, residing in Broward County, Florida. Said Plaintiff is the cellular

 account holder-owner and has dominion over the cellular telephone for which

 Defendant was calling.

       4.     Defendant, LEADING EDGE RECOVERY SOLUTIONS, LLC

 (“Defendant”), is a foreign limited liability company, which among other things,

 utilizes its telephonic capabilities to engage in contingency debt collection services

 and operates from offices located at 5440 N. Cumberland Avenue, Suite 300,

 Chicago, Illinois 60656; upon information and belief, Plaintiff further alleges that

 Defendant, as well as all of its members, are citizens of Illinois.


                                            2
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 3 of 9




      5.       Defendant regularly uses the mail and telephone in a business for the

 purpose of collecting consumer debts.

      6.       Defendant regularly collects or attempts to collect debts for other

 parties; they are a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

 Heintz v. Jenkins, 514 U.S. 291 (1995).

      7.       At all times material to the allegations of this complaint, Defendant was

 acting as a debt collector with respect to the collection of Plaintiff’s alleged debt.

      8.       With respect to the “Congressional findings and declaration of

 purpose” portion of the FDCPA, The United States Congress has declared at 15

 U.S.C. § 1692:

               (a) Abusive practices

               There is abundant evidence of the use of abusive, deceptive, and
               unfair debt collection practices by many debt collectors. Abusive debt
               collection practices contribute to the number of personal bankruptcies,
               to marital instability, to the loss of jobs, and to invasions of individual
               privacy.

               (b) Inadequacy of laws

               Existing laws and procedures for redressing these injuries are
               inadequate to protect consumers.

                             FACTUAL ALLEGATIONS

        9.     The instant lawsuit stems from the telephonic collection efforts of

 Defendant over the last four years. Stern v. Bluestone, 850 N.Y.S.2d 90, 2008




                                              3
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 4 of 9




 N.Y. Slip Op. 00611 (holding that the TCPA has a four year statute of limitations

 pursuant to 28 U.S.C. § 1658).

       10.    Upon information and belief, Defendant sought to collect an alleged

 consumer debt for a defaulted Bank of America credit card and persisted to

 unlawfully call Plaintiff over and over again in an effort to collect said debt; the

 aforementioned credit card was used by Plaintiff to purchase consumer goods, such

 as: food, clothing, and travel-related expenses.

       11.    The aforesaid calls to Plaintiff’s cellular telephone were placed using

 an automated telephone dialing system and/or played a pre-recorded or artificial

 voice message.

       12.    That each and every time the Plaintiff answered the aforesaid calls, an

 artificial or pre-recorded voice would immediately play, identifying Defendant’s

 name and leaving a return number of “888-306-0549”; Plaintiff’s caller

 identification (“Caller ID”) feature on his cellular telephone also displayed that the

 incoming number as having come from “888-306-0549.”

       13.    Upon information and belief, the representative who answers the

 aforementioned telephone number when called back identifies himself/herself as an

 employee of Defendant.

       14.    Defendant’s method of contacting Plaintiff is indicative of its ability

 to dial numbers without any human intervention in the calling process, which the


                                           4
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 5 of 9




 FCC has opined is the hallmark of an automatic telephone dialing system (i.e. auto-

 dialer). See In the Matter of Rules & Regulations Implementing The Telephone

 Consumer Protection Act of 2008, CG Docket No. 02-278, FCC 07-232 (1/4/08) ¶¶

 11-13; In the Matter of Rules & Regulations Implementing the Telephone

 Consumer Protection Act of 1991, 2003 WL 21517583, 18 F.C.C.R. 14014, ¶ 132

 (Fed. Commc’n Cmm’n July 3, 2003).

       15.    Plaintiff maintains that in spite of his numerous requests to stop

 Defendant’s constant barrage of telephone calls, Defendant persisted on calling

 Plaintiff’s cellular telephone hundreds of times over the last four years.

       16.    Plaintiffs maintain that Defendant’s large volume of auto-dialed

 and/or pre-recorded telephone calls were unlawful and harassing as Plaintiff

 neither provided prior express consent to Defendant nor anyone else to call

 Plaintiff’s cellular telephone.

       17.    In sum, Defendant made telephone calls to Plaintiff’s cellular

 telephone, which were either initiated by an automatic telephone dialing system

 and/or contained a pre-recorded message and were made without the prior express

 consent of Plaintiff.

       18.    That Defendant either willfully or knowingly violated the TCPA.

       19.    According to findings by the Federal Communication Commission

 (“FCC”), the agency Congress vested with authority to issue regulations


                                           5
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 6 of 9




 implementing the TCPA, such calls are prohibited because, as Congress found,

 automated or prerecorded telephone calls are a greater nuisance and invasion of

 privacy, and such calls can be costly and inconvenient. The FCC also recognized

 that wireless customers are charged for incoming calls whether they pay in

 advance or after the minutes are used. See Rules and Regulations Implementing

 the Telephone Consumer Protection Act of 1991, CG Docket No. 02-278, Report

 and Order, 18 FCC Rcd 14014 (2003).

       20.    Under the TCPA, and pursuant to the FCC’s January 2008

 Declaratory Ruling, the burden is on Defendant to demonstrate that Plaintiffs

 provided express consent within the meaning of the statute. See FCC Declaratory

 Ruling, 23 F.C.C.R. at 565 (¶ 10).

       21.    The Hobbs Act does not vest federal district courts with subject matter

 jurisdiction to disregard FCC rulings. Leckler v. Cashcall, Inc., 2008 U.S. Dist.

 LEXIS 97439, *7-8 (N.D. Cal. 2008).

       22.    Any potential bona fide error defense which relies upon Defendant’s

 mistaken interpretation of the legal duties imposed upon them by the FDCPA

 would fail as a matter of law. Jerman v. Carlisle, McNellie, Rini, Kramer &

 Ulrich, L.P.A., 130 S.Ct. 1605 (U.S. April 21, 2010).

       23.    The FDCPA has been construed by Federal Courts as a strict liability

 statute that is to be construed liberally so as to effectuate its remedial purpose. See


                                           6
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 7 of 9




 generally, LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. March 30,

 2010); Russell v. Equifax A.R.S., 74 F.3d 30, 33 (2d Cir. 1996).

       24.    The TCPA and FDCPA are intertwined and serve congruent purposes;

 hence, a violation of the TCPA may support a federal cause of action under the

 FDCPA. See e.g., LeBlanc v. Unifund CCR Partners, 601 F.3d 1190, 1192 (11th

 Cir. 2010) (holding that a violation of the FCCPA may lead to a violation of the

 FDCPA); Clark v. Weltman, Weinberg & Reis, Co., L.P.A., 2010 WL 2803975, at

 *2 (S.D. Fla. July 15, 2010) (stating that allegations which support a cause of

 action under the TCPA may also support a violation of the FDCPA).

                          COUNT I
     VIOLATIONS OF TELEPHONE CONSUMER PROTECTION ACT

       25.    Plaintiff incorporates Paragraphs 1 through 24.

       26.    Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) of the Telephone

 Consumer Protection Act by making telephone calls to Plaintiff’s cellular

 telephone, which were initiated by an automatic telephone dialing system and/or

 made using an artificial or prerecorded voice, and not legally permissible under

 any provision to the aforementioned statute.

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.    $500 dollars in statutory damages for each violation of the

                    TCPA over the last four years;

                                          7
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 8 of 9




              b.    $1500 dollars in statutory damages for each knowing or willful

                    violation of the TCPA over the last four years;

              c.    A permanent injunction prohibiting Defendant from placing

                    non-emergency calls to Plaintiff’s cellular telephone by use of

                    an automatic telephone dialing system;

              d.    A declaratory judgment that Defendant has violated Plaintiff’s

                    rights under the TCPA;

              e.    Attorney’s fees, litigation expenses and costs of the instant suit;

                    and

              f.    Such other or further relief as the Court deems proper.


              further relief as the Court deems proper.


                        COUNT II
    TELEPHONIC HARASSMENT IN VIOLATION OF 15 U.S.C. § 1692d


       27.    Plaintiff incorporates Paragraphs 1 through 24.


       28.    Defendant’s unlawful use of an auto-dialer to call Plaintiff as well as

 its use of an unlawful prerecorded or artificial voice message in an effort to collect

 a consumer debt from Plaintiff was in violation of 15 U.S.C. § 1692d and 15

 U.S.C. § 1692d(5) of the Fair Debt Collection Practices Act.




                                           8
Case 0:11-cv-62311-WJZ Document 1 Entered on FLSD Docket 10/27/2011 Page 9 of 9




       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:


              a.    Damages;


              b.    Attorney’s fees, litigation expenses and costs of the instant suit;

                    and

              c.    Such other or further relief as the Court deems proper.

                                  JURY DEMAND

        Plaintiff demands trial by jury.

 Dated this 27th day of October, 2011.


                                           SCOTT D. OWENS, ESQ.
                                           Attorney for Plaintiff
                                           664 E. Hallandale Beach Blvd.
                                           Hallandale, FL 33009
                                           Telephone: 954-559-0588
                                           Facsimile: 954-337-0666
                                           scott@cohenowens.com

                                           By: s/Scott D. Owens
                                           Scott D. Owens, Esq.
                                           Florida Bar No. 0597651




                                             9
